Case 1:20-cv-01104-RPK-VMS Document 16 Filed 11/25/20 Page 1 of 1 PageID #: 46


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                                                                            September 25, 2020

Via ECF
The Honorable Judge Vera M. Scanlon
United States District Court
Eastern District of New York
225 Cadman Plaza E
Brooklyn, New York 11201

                Re: Ulbia America Pinela Jurado v. Sabor Hispano Inc. et al
                    20-cv-1104 (RPK) (VMS)

Dear Judge Scanlon:

       We represent the Plaintiff in the above-referenced matter and we submit this letter with
regards to the joint proposed scheduling order due today.

        On October 15, 2020, the Court ordered both parties to complete a joint proposed
scheduling order to be submitted on November 25, 2020. However, on November 9, 2020,
Defendants’ counsel submitted a letter to the Court stating that they have not been formally
retained by Defendants and would not represent Defendants. To our knowledge, Defendants are
not currently represented by counsel nor has any other attorney contacted us on behalf of the
Defendants.

         We respectfully ask the Court for guidance on how to proceed as we are currently unable
to file a joint proposed discovery plan.

       We thank Your Honor for her consideration on this matter and remain available to
provide any additional information.



                                                                 Respectfully submitted,


                                                                       /s/
                                                                  Roman Avshalumov, Esq.
